FILED

12th JUDICIAL DISTRICT COURT
Otero County

6/10/2019 4:22 PM

TWELFTH JUDICIAL DISTRICT COURT KATINA WATSON
COUNTY OF OTERO eT etude
STATE OF NEW MEXICO

Belleview Valley Land Co, a New Mexico corporation, )}
and John Williams and Ellen B. Williams, husband and )
wife, )

Plaintiffs, No. CV-2010-0154

vs. Judge James Waylon Counts

Tammy Sprague, Personal
Representative of the Estate of

Fred Van Winkle, Deceased,
Defendant/Petitioner,

and

Brian Van Winkle and
Judith Van Winkle,

ee ea eae ae eee ie ae eee ae ae ee ee

Defendants—in—Intervention.

‘PLAINTIFF’S NOTICE OF PRESENTMENT OF ORDER

ON MOTION FOR SUMMARY JUDGMENT

Martin, Dugan & Martin

W. T. Martin, Jr. & Kenneth D. Dugan
509 W. Pierce St.

P.O. Box 2168

Carlsbad, NM 88221-2168

(575) 887-3528

Fax (575) 887-2136

e-mail: martinlaw@zianet.com

PLAINTIFF'S
EXHIBIT

ZO

Case 20-01022-t Doc 40-1 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 1 of 11

Blumberg No. 5113
COME NOW Belleview Valley Land Co. ("BVL"), John Williams and Ellen B. Williams
(collectively referred to as “Plaintiffs"), by and through their attorneys, W. T. Martin, Jr., and
Kenneth D. Dugan, of Martin, Dugan & Martin, and for their Notice of Presentment of Order on
Plaintiff's Motion for Summary Judgment to Foreclose Judgment Lien and state:

1. On April 26, 2019, this Court issued its Minute Order, granting Plaintiff’s Motion
for Summary Judgment and requesting attorney Kenneth Dugan to prepare a form of
order,

2. Mr. Dugan prepared a form of order, but agreement by the parties on the farm
of order could not be reached. Accordingly, Plaintiffs tender their form of order
attached hereto.

3. The primary dispute centers on the scope of the ruling by the court as it will or
may affect the withdrawal and/or distribution of the funds deposited in the Registry of
the Court. Plaintiffs interpret the Minute Order as not intending to rule upon that issue.
However, if we are not careful, that issue may be effected by the proposed form of
order.

4. In Plaintiffs’ attached form of order, paragraph H notes that Plaintiffs orally
requested the Court to order the redemption sums paid over to them, but the court was
not willing to make such a ruling without a proper order. Paragraph | provides jthe
Defendants 10 days to advise the court whether they are going to withdraw their
redemption request or continue with it. Once that election is made, this Court wauld
then be in a position to rule on the appropriate distribution of the sums paid into jthe

court’s registry.

Case 20-01022-t Doc 40-1 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 2 of 11
5. After the hearing in March, Plaintiffs’ counsel discovered a recent New Mexico
case, Nationstar Mortgage LLC v. Chenoweth, 2018 WL 2213641 (N.M. App., April 2,
2018) (unpublished opinion) (emphasis added). In that case, the court held there are
two methods of redemption. The Court said: “Succinctly stated, the right| of
redemption may be exercised by either: (1) paying to the foreclosure sale purchaser the
purchase price of the real property, plus statutory interest and taxes; or (2) by filing a
petition for redemption in the district court and depositing the foreclosure purchase
price plus statutory interest and taxes in the court registry. Section 39-—5—18(A). ... The
statute does not require any further action for a party to redeem.” The question this
Court will need to address is whether it is bound by Nationstar. That case says |no
further action beyond placing the monies into the registry of the court is needed] to
redeem. If that is true, then Defendant has no right to withdraw the monies, and they
must be paid over to Plaintiffs.

6. Having said that, this Court does not have to decide where the monies are ppid
now. The Court must simply set up a procedure by which it will determine who should
receive the monies. The procedure Plaintiffs propose is for Defendant to advise the
court if it is going to proceed with the redemption or withdraw the request. After that
election, the court can set the case for final hearing and issue final judgment. That is
what paragraph | of Plaintiff's proposed order says.

7. Plaintiffs will provide further argument if and when Defendant objects to hie

form of order and/or at the hearing on the presentment.

Case 20-01022-t Doc 40-1 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 3 of 11
WHEREFORE, Plaintiffs request this Court enter the attached order after the appropriate
time has passed, or if objection is filed, set the matter for hearing and grant such relief at the
hearing as may be appropriate.

Martin, Dugan & Martin

0O

W.T. Martin, Jr.

Kenneth D. Dugan

P.O. Box 2168

Carlsbad, NM 88221-2168
575-887-3528

575-887-2136 (facsimile)

e-mail: martinlaw@zianet.com
Attorney.for BVL and the Williams

By

Martin, Dugan & Martin certifies on the __
day it filed
the foregoing Response electronically through
the State of New Mexico's Odyssey File & Serve
system, requesting that opposing counsel of
record be served by electronic means, and
faxed a copy of the Response to opposing
counsel of record. A copy of the pleading was
also mailed U.S. First Class Mail to Brian & Judith
Van Winkle, P.O. Box 141, La Luz, NM 88337.

vayp

W.T. Martin, Jr.

Case 20-01022-t Doc 40-1 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 4 of 11
TWELFTH JUDICIAL DISTRICT COURT
COUNTY OF OTERO
STATE OF NEW MEXICO

Belleview Valley Land Co, a New Mexico corporation, )
and John Williams and Ellen B. Williams, husband )
and wife,

Plaintiffs, No. CV-2010-0154

ye Judge James Waylon Counts

Tammy Sprague, Personal
Representative of the Estate of
Fred Van Winkle, Deceased,

Defendant/Petitioner,

and

Brian Van Winkle and
Judith Van Winkle,

Defendants—in—Intervention.

eee eee ee

ee oe

Ck Nueneea et 8 MAAN A AARNE LY
ae Tope Bc (Shesitis

aie ta) | PEN ey Re

irish ee eb Ne 5 VEE AN Tei abine Make Saal n CUP ME

Martin, Dugan & Martin

W. T. Martin, Jr. & Kenneth D. Dugan
509 W. Pierce St.

P.O. Box 2168

Carlsbad, NM 88221-2168

(575) 887-3528 ‘
Fax (575) 887-2136
e-mail: martinlaw@zianet.com

Case 20-01022-t Doc 40-1 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 5 of 11
CAME ON to be heard the Plaintiffs’ Motion for Summary Judgment to Foreclose
Judgment Lien and Supporting Brief (the “Motion”) filed by Belleview Valley Land |
(“BVL”), John Williams and Ellen B. Williams (" Plaintiffs”). The parties were represented |by
counsel in the hearing on March 11,2019. Plaintiffs appeared through counsel, Kenneth Dugan.
Defendants appeared through counsel, Kyle Moberly. The Court having heard arguments] of
counsel and being otherwise fully advised in the premiscs, finds that the Motion should be and
hereby is GRANTED for the reasons stated in the Motion.

Among other undisputed facts stated in the Motion, the Court finds the following matciial
facts are undisputed and most relevant:

1. The Court conducted a trial on the merits involving the same parties (Fred Van Winklc
and Brian Van Winkle) and real property involved herein on August 13, 2010, in Catse

No. D-1215-CV-200800076.

1

Plaintiffs obtained judgment against Fred Van Winkle in the amount of $243,944.31.
3. On August 17, 2010, Plaintiffs recorded a Transcript of Judgment reflecting the judgment
with the County Clerk of Otero County New Mexico, which created a judgment lien.
4. On December 16, 2010, Plaintiffs file their Complaint to Foreclose Judgment Litn,
seeking to foreclose on the judgment lien.
5. On or about September 1, 2011, the foreclosure action was stayed due to Fred Van
Winkle filing for relief under Chapter 13 of the Bankruptcy Code. Said bankrupjcy
petition was dismissed due to failure to perform under the plan.
6. Fred Van Winkle filed a subsequent bankruptcy petition under Chapter 7. Fred Van

Winkle ultimately obtained a discharge in the Chapter 7 action.

Case 20-01022-t Doc 40-1 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 6 of 11
7. Plaintiffs filed an adversary action in Bankruptcy Court to lift the stay and the judge, the
Honorable Robert H. Jacobvitz, lifted the stay and permitted Plaintiffs to procced to
foreclosure to enforce their judgment lien as to Debtor's Otcro County property.

8. On May 22, 2014, Plaintiffs then obtained judgment in foreclosure in this Court for
$333,817.73 (plus continuing interest and possible attomcys’ fees), and the subject
property herein was sold at a special master's sale.

9. Plaintiffs bid $67,000.00 at the special master's sale. That was the high (and only) bid,
and Plaintiffs took title to the property by Special Master's Deed.

10. In July 2014, this Court confirmed the sale and granted Plaintiffs a continuing in rpm
deficiency judgment in the amount of $271,905.61, plus interest.

11. On August 8, 2014, Plaintiffs recorded their transcript of judgment with the Otero County
Clerk, perfecting their judgment lien on the Defendants’ property in the amount|of
$271,905.61, plus interest.

12. On April 20, 2015, and within nine (9) months of the judgment, Defendant Estate of Fred
Van Winkle filed its Petition for Redemption hercin, secking to redeem the property |by

payment of $73,200.94,

13. On April 21, 2015, this Court issued the order authorizing deposit of the redemption
funds into the court registry, and Defendant Estate of Fred Van Winkle subsequently
deposited into the court registry the $73,200.94 sum.

14, Defendant and Defendants-in-Intervention are seeking herein to redeem the property {tee
of any liens.

15. Defendant and Defendants-in Intervention are not bona fide purchasers in good faith.

Case 20-01022-t Doc 40-1 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 7 of 11
16. The estate of Fred Van Winkle has no assets other than various real property interests that

are subject to the deficiency judgment liens referenced above.

THE COURT MAKES THE FOLLOWING CONCLUSIONS OF LAW:

A.

B.

CG

There are no issues of material fact, and thus summary judgment is appropriate.
NMSA Section 39-5-18 provides:

[T]he real estate may be redeemed by the former defendant owner of the r
estate ...

(1) by paying to the purchaser, at any time within nine months from the d
of sale, the amount paid at the sale, with interest from the date of sale at

bal

Ate
he

rate of ten percent a year, together with all taxes, interest and penalties

thereon, and all payments made to satisfy in whole or in part any prior lien
mortgage not foreclosed, paid by the purchaser after the date of sale, w
interest on the taxes, interest, penalties and payments made on liens
mortgages at the rate of ten percent a year from the date of payment; OR

(2) by filing a petition for redemption in the pending foreclosure case in

district court in which the order, judgment or decree of foreclosure w:

entered and by making a deposit of the amount set forth in Paragraph (1)

this subsection in cash in the office of the clerk of that district court, at dny

time within nine months from the date of sale.
§39-5-18 NMSA 1978. That statute provides two methods of redemption.

There are two methods of redemption. “Succinctly stated, the right of redempt

or
ith

on

may be exercised by either: (1) paying to the foreclosure sale purchaser the purchase

price of the real property, plus statutory interest and taxcs; or (2) by filing a petit

for redemption in the district court and depositing the foreclosure purchase price p

statutory interest and taxes in the court registry. Section 39-S—18(A). ... The statute

does not require anv further action for a partv to redeem.” Nationstar Mortgage L

y. Chenoweth, 2018 WL 2213641 (N.M. App., April 2, 2018) (unpublished opinig
(emphasis added); Chapel v. Nevitt, 2009-NMCA-017, J 27, 145 N.M. 674 (hold

there are two methods of redemption, and “if the debtor chooses to redeem un

Case 20-01022-t Doc 40-1 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 8

of 11
subsection (A)(2) and not pay the purchaser directly... the debtor must (1) petition

the district court and (2) deposit a sum of money in the court registry within n

months from the date of sale”). Defendants opted to redeem under subsection

(A)(2): i.e., filing a petition for redemption and depositing the stated sums. T

filing and payment exercised the redemption as a matter of law. Nationstar; Chapel.

inc

nat

Plaintiffs' judicial lien was not fully satisfied by the foreclosure on Fred Van

Winkle's land. Plaintiffs have the right to seek satisfaction of their judgment, in rem,

from the former defendant owner. Defendant’s redemption automatically reinsta

ted

Plaintiffs’ prior judgment lien. Turner v. Les File Drywall, Inc. 1994-NMSC-010, 4 5,

117 N.M. 7 (“[O]nce a mortgagor redeems his foreclosed property, the property once

again becomes part of the mortgagor's real estate subject to prior judgment liens
the mortgagor's property.”); Langhurst v. Langhurst, 1945-NMSC-042, 9 8-10,
N.M. 329.

Plaintiffs now seek to foreclose. Plaintiffs have the ability to seek payment

on

49

of

their judgment lien by again proceeding to foreclose the real property redeenjed

herein.

Prior to issuing a certificate of redemption, "the judge shall determine the amo
of money necessary for the redemption, which shall include the money paid at
sale and all taxes, interest, penalties and payments made in satisfaction of lie

mortgages and encumbrances." §39-5-18 NMSA 1978. Defendants have not

vel

paid the full sums owing under that statute, including taxes and interest accruing simce

2015, when they redeemed. W. Bank of Las Cruces v. Malooly, 1995-NMCA-044

I

Case 20-01022-t Doc 40-1 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 9

of 11
Case 20-01022-t

28, 119 N.M. 743 (holding interest accrues on redemption amount through date

final court order approving the redemption and setting the final amount).

The hearing setting the final redemption amount is mandatory prior to issuance

the certificate of redemption. Id., § 26. The court may issue the certificate
redemption upon such terms and conditions as it deems just. § 39-5-17(D).

Defendants desire to move forward with their redemption, this Court will set

of

of

of

matter for hearing to determine the additional sums that must be tendered for issuance

of the certificate of redemption. See Id., § 26-32 (permitting court to award

additional interest, taxes, insurance payments and other sums to “prevent unj
enrichment”). As stated above, Plaintiffs’ judgment lien automatically reinstated.
the event Defendants tender the court-ordered additional payments, Plaintiffs shall
entitled to simultaneous foreclosure of their lien and the property shall be placed
sale under the same terms and conditions previously imposed herein.

Plaintiffs requested orally at the hearing that the sums previously deposited

Defendants for the redemption be paid over to them. The Court will not rule on t

request without proper motion, briefing and hearing. See Chapel v. Nevitt, 20(

NMCA-017, 9 36, 145 N.M. 674 (holding at the hearing setting the redempt
amount, the court would have issued a certificate of redemption and determined h
the deposit was to be disbursed).

Defendants shall have 10 days from the date of this Order to file an election eit
(a) requesting issuance of a certificate of redemption and hearing to set the fi
amount or (b) withdrawing their request for issuance of a certificate of redemption.

Defendants elect option (a), the certificate will be conditioned as stated above and

List

Ww

the

Doc 40-1 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 10 of 11
court will order simultaneous foreclosure by Plaintiffs. If Defendants fail to timely

file the required election, Defendants are deemed to have elected option (pb),
withdrawal. In either case, the Court shall thereafter set the matter for hearing and
decide the remaining issues, including who is entitled to receive the initial deposited
redemption amount.
WHEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiffs are
granted summary judgment as requested in their Motion. In the event Defendants and/or

Defendants-in-Intervention elect to continue to redeem the property and request a certificnte

-

of redemption, (a) Plaintiffs' judgment lien is reinstated; (b) Plaintiffs shall be entitled] to

simultaneous foreclosure of their lien; and (c) the property shall be placed for sale under the
same terms and conditions previously imposed herein. As stated above, the Court will bet

this cause for further hearing following Defendants’ election ordered above.

Honorable Judge James Waylon Counts
Approved as to form:

7G: :

W.T. Martin, Jr., counsel for Plaintiffs Kyle Moberly, counsel for Defendant

i
Case 20-01022-t Doc 40-1 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 11 of 11
